            Case 2:14-cv-01884-BJR Document 25 Filed 04/28/16 Page 1 of 4



 1                                                                   The Honorable Marsha J. Pechman
 2
 3
 4
 5
 6
 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
10    TRACY JAHR, et. al.,
                                                              No. C14-1884-MJP
11                   Plaintiffs,
                                   v.
12                                                            DECLARATION OF BRIAN C.
      UNITED STATES OF AMERICA                                BROOK IN SUPPORT OF
13                                                            PLAINTIFFS’ OPPOSITION TO
                      Defendant.
                                                              DEFENDANT’S MOTION TO
14
                                                              DISMISS FOR LACK OF SUBJECT
15                                                            MATTER JURISDICTION

16                                                            NOTED FOR CONSIDERATION:
                                                              Friday, April 29, 2016
17
18
19
           I, Brian C. Brook, state and declare as follows:
20
21             1. I am an attorney at law of the States of New York and New Jersey and the District

22                 of Columbia, and a partner with the law firm of Clinton Brook & Peed, attorneys

23                 for plaintiffs in this matter. I am admitted to practice pro hac vice in this Court.
24
               2. I submit this Declaration, in accordance with 28 U.S.C. § 1746, in support of
25
                   Plaintiffs’ Response to Defendant’s Motion to Dismiss for Lack of Subject Matter
26
                   Jurisdiction, which was timely filed on April 25, 2016.
27
28

     DECLARATION OF BRIAN C. BROOK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO          CLINTON BROOK & PEED
     DEFENDANT’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION - 1    641 Lexington Avenue, 13th Floor
     (C14-1884-MJP)                                                                    New York, NY 10022
                                                                                          (212) 256-1957
            Case 2:14-cv-01884-BJR Document 25 Filed 04/28/16 Page 2 of 4



 1             3. The reason for this late Declaration is to attach Exhibits that were omitted from
 2                 the previous filing due to unresolved confidentiality concerns relating to
 3
                   documents that had been produced by the Government in this matter.
 4
               4. Those concerns having been resolved on April 28, 2016, the following documents
 5
 6                 that were produced by the Government in this matter are now submitted as

 7                 follows:

 8                     a. Exhibit 2 is a copy of the Enlisted Record Brief of Michael Brett Roark
 9
                           (redacted to remove personal identifying information), dated August 26,
10
                           2011.
11
                       b. Exhibit 3 is a copy of the Certificate of Release or Discharge from Active
12
13                         Duty for Michael Roark (redacted to remove personal identifying

14                         information), dated December 2, 2011.
15                     c. Exhibit 4 is a copy of two memoranda relating to the separation of Isaac
16
                           Aguigui from the United States Military Academy Preparatory School,
17
                           dated November 10 and 12, 2009.
18
                       d. Exhibit 5 is a copy of the Certificate of Release or Discharge from Active
19
20                         Duty of Isaac Glen Aguigui and associated documents (redacted to remove

21                         personal identifying information), dated November 12, 2009.
22                     e. Exhibit 6 is a copy of the Enlisted Record Brief of Isaac Glen Aguigui
23
                           (redacted to remove personal identifying information), dated July 29,
24
                           2014.
25
26                     f. Exhibit 7 is a copy of the Military Protective Order issued against Isaac

27                         Aguigui, dated March 15, 2011.

28

     DECLARATION OF BRIAN C. BROOK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO         CLINTON BROOK & PEED
     DEFENDANT’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION - 2   641 Lexington Avenue, 13th Floor
     (C14-1884-MJP)                                                                   New York, NY 10022
                                                                                         (212) 256-1957
            Case 2:14-cv-01884-BJR Document 25 Filed 04/28/16 Page 3 of 4



 1                     g. Exhibit 8 is a copy of the Developmental Counseling Form of Isaac
 2                          Aguigui, dated March 15, 2011.
 3
                       h. Exhibit 9 is a copy of the Developmental Counseling Form of Isaac
 4
                            Aguigui, dated April 15, 2011.
 5
 6                     i. Exhibit 10 is a copy of the Record of Proceedings Under Article 15,

 7                          UCMJ against Isaac Aguigui (redacted to remove personal identifying

 8                          information), dated May 5, 2011.
 9
                       j. Exhibit 11 is a copy of the Sworn Statement of Isaac G. Aguigui (redacted
10
                            to remove personal identifying information), dated May 26, 2011.
11
                       k. Exhibit 12 is a copy of the Sworn Statement of Jessica Rae Velez
12
13                          (redacted to remove personal identifying information), dated June 15,

14                          2011.
15                     l. Exhibit 13 is a copy of excerpts from the Staff Journal of the Fort Stewart
16
                            Casualty Assistance Office, dated July 18-21, 2011.
17
                       m. Exhibit 16 is a copy of excerpts from the transcript of the Article 32
18
                            hearing testimony of Justin Kapinus, dated July 1, 2013.
19
20                     n. Exhibit 17 is a copy of the Sworn Statement of Cheryl Mancill (redacted

21                          to remove personal identifying information), dated August 7, 2012.
22                     o. Exhibit 18 is a copy of the Sworn Statement of Alyssa Faltysek (redacted
23
                            to remove personal identifying information), dated July 10, 2012.
24
                       p.   Exhibit 19 is a copy of the Bureau of Alcohol, Tobacco, Firearms and
25
26                          Explosives Summary of the December 9, 2011 Interview of Nicholas

27
28

     DECLARATION OF BRIAN C. BROOK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO          CLINTON BROOK & PEED
     DEFENDANT’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION - 3    641 Lexington Avenue, 13th Floor
     (C14-1884-MJP)                                                                    New York, NY 10022
                                                                                          (212) 256-1957
             Case 2:14-cv-01884-BJR Document 25 Filed 04/28/16 Page 4 of 4



 1                           Gray-Thompson (redacted to remove personal identifying information),
 2                           dated December 28, 2011.
 3
                5. Exhibits 1, 14, 15, and 20 were filed by ECF along with Plaintiffs’ Response on
 4
                    April 25, 2016, and accordingly are not resubmitted with this Declaration.
 5
 6              6. A courtesy copy of the combined Response and all Exhibits will be submitted as

 7                  one document to chambers shortly, since it exceeds 50 pages in total.

 8   I declare under penalty of perjury that the foregoing is true and correct.
 9
10   Dated: April 28, 2016

11
                                                     /s Brian C. Brook
12                                                   BRIAN C. BROOK, admitted pro hac vice
13                                                   CLINTON BROOK & PEED
                                                     641 Lexington Avenue, 13th Floor
14                                                   New York, NY 10022
                                                     Telephone No. (212) 328-9559
15                                                   Fax No. (212) 328-9560
16                                                   Email brian@clintonbrook.com
                                                     Attorney for Plaintiffs
17
18
19
20
21
22
23
24
25
26
27
28

      DECLARATION OF BRIAN C. BROOK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO         CLINTON BROOK & PEED
      DEFENDANT’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION - 4   641 Lexington Avenue, 13th Floor
      (C14-1884-MJP)                                                                   New York, NY 10022
                                                                                          (212) 256-1957
